                          Case
                     UNITED    21-20206-PDR
                            STATES           Doc
                                    BANKRUPTCY   19 Filed
                                               COURT,     11/10/21DISTRICT
                                                      SOUTHERN       Page 1OF
                                                                            of FLORIDA
                                                                               1
                                                         www.flsb.uscourts.gov
                                /   CHAPTER 13 PLAN {Individual Adjustment of Debts)
                           [¥( _____Amended               Plan (Indicate 1st, 2"\ etc. amended, if applicable)
                           D _____ Modified               Plan (Indicate 1si, 2nd , etc. amended, if applicable)

DEBTOR: /t,;111el/r:         /171), 4 /4      JOINT DEBTOR,           /!,~ =~L                                      cAsE No., ,;11-Ja;1c?6·   ;oo;e
Last Four Digits ofSS#      }£41-;            Last Four Digits ofSS#         _:a_
                                                                               . ...._'--j.,__._9_!£__,_,__~--
MONTHLY PLAN PAYMENT: Including trustee's fee of I 0% and beginning 30 days from filing/conversion date, Debtor(s)
to pay to the trustee for the period of _ _ _ months. In the event the trustee does not collect the full I 0%, any portion not
collected will be paid to creditors pro-rata under the plan:
         A.       $_ _ _ _ for months _ _ _to _ __
         B.       $. _ _ _ _ for months _ _ _to _ __
         C.       $_ _ _ _ for months _ _ _to _ _ _ ; in order to pay the following creditors:

Administrative: Attorney's Fee - $_ _ _ _ _ _ TOTAL PAID $ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                        Balance Due    $             payable $_ _ _/month (Months _ _to _ _ )




3. ---                                       Arrearage on Petition Date $_ _ _ _ _ __
Address:. _-
           _- -_
             __ -_
                 -_-_
                    -_-_-
                                                   Arrears Payment      $        /month (Months ___to ___)
                                                   Regular Payment      $        /month (Months ___to _ __,
Account No: _ _ _ _ _ _ _ __

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING
YOUR CLAIM IN THE AMOUNT INDICATED. A SEP ARA TE MOTION WILL ALSO BE SERVED ON YOU PURSUANT
TO BR 7004 and LR 3015-3.

     Secured Creditor        Description of Collateral   Interest          Plan Payments                    Months of Payment   Total Plan Payments
                             and Value of Collateral      Rate

,.                          $                                 %        $                                          To

                            $                                 %        $                                          To

                            $                                 %        $                                          To
Priority Creditors: [as defined in 11 U.S.C. §507]

I.                                   Total Due $_ _ __
                                     Payable $          /month (Months __to _ ) Regular Payment $_ __
2.                                   Total Due $_ _ __
                                     Payable $         /month (Months_to __ ) Regular Payment $_ _ __
Unsecured Creditors: Pay $_ _ _ _ _/month (Months___to ___ ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
                 h furegoffig chapter 13 plan ;, true and correct u n d Eo f ~

                                                                    Joi t Debt9~ Id ,
                                                                    Date: /llfO Jvv
                                                                                I       ,

 LF-31   (rev. 01/08/10)
